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 7
                                    UNITED STATES DISTRICT COURT
 8
                                   CENTRAL DISTRICT OF CALIFORNIA
 9
10
       ANNETTE CODY,                       Case No.:
11
12                  Plaintiff,
                                          EXHIBIT-1
13           v.

14     COOPER STREET COOKIES, LLC,
15                  Defendant.
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                                   DECLARATION OF ZACHARY ZERMAY
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